         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2023-1384
                 L.T. Case No. 2020-CF-006689-A
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MELISSA JO SCHAFER,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County,
Mark J. Borello, Judge.

Matthew J. Metz, Public Defender, and George D.E. Burden,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, and Heather Flanagan Ross,
Assistant Attorney General, Tallahassee, for Appellee.

                        August 20, 2024

PER CURIAM.

    AFFIRMED.

EISNAUGLE, HARRIS, and MACIVER, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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